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14   [Additional Counsel listed on last page.]
15
     Attorneys for Plaintiffs, CARL ZEISS AG and ASML NETHERLANDS B.V.
16
17                 IN THE UNITED STATES DISTRICT COURT
         FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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   CARL ZEISS AG and ASML                        Case No. 2:17-cv-07083-RGK (MRWx)
19 NETHERLANDS B.V.,
                                                 DECLARATION OF OLIVER J.
20                                               RICHARDS IN SUPPORT OF
                  Plaintiffs,
21 v.                                            PLAINTIFFS’ OPPOSITION TO
                                                 DEFENDANTS’ MOTION IN
22                                               LIMINE NO. 11 REGARDING LATE
   NIKON CORPORATION, SENDAI
23 NIKON CORPORATION, and                        DISCLOSED AND PREJUDICIAL
   NIKON INC.,                                   CAMERA
24
           Defendants.
25                                               Date:      November 6, 2018
                                                 Judge:     Hon. R. Gary Klausner
26                                               Courtroom: 850, 8th Floor
27
28
              DECLARATION OF RICHARDS ISO OPPOSITION TO DEFENDANTS’
                                                                 MIL NO. 11
                                         Case No. 2:17-cv-07083-RGK (MRWx)
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 1         I, Oliver J. Richards, hereby declare and state as follows:
 2         1.     I am an associate in the law firm of Fish & Richardson P.C., counsel of
 3   record for Plaintiffs Carl Zeiss AG and ASML Netherlands, B.V. (collectively,
 4   “Plaintiffs”) in the above-captioned matter. I have personal knowledge of all the facts
 5   contained herein and, if called as a witness, I could and would testify competently thereto.
 6         2.     Attached as Exhibit A is a true and correct copy of excerpts from the trial
 7   transcript from Case No. 2:17-cv-3221.
 8         3.     Attached as Exhibit B is a true and correct copy of excerpts from the
 9   January 26, 2018 deposition transcript of Wolfgang Singer from Case No. 2:17-cv-3221.
10         4.     Attached as Exhibit C is a true and correct copy of excerpts from the
11   March 16, 2018 deposition transcript of Wolfgang Singer from Case No. 2:17-cv-3221.
12         5.     Attached as Exhibit D is a true and correct copy of excerpts from the
13   August 8, 2018 Plaintiffs’ Fourth Supplemental Responses to Defendant’s First Set of
14   Interrogatories [Set No. 1, Nos. 1-18].
15         6.     Attached as Exhibit E is a true and correct copy of excerpts from the
16   August 1, 2018 deposition transcript of Ulrich Wagemann.
17         7.     Attached as Exhibit F is a true and correct copy of excerpts from the
18   August 8, 2018 Opening Expert Report of Richard Carley, Ph.D.
19         8.     Attached as Exhibit G is a true and correct copy of excerpts from the
20   August 8, 2018 Opening Expert Report of Vivek Subramanian, Ph.D.
21         9.     Attached as Exhibit H is a true and correct copy of a screen shot from
22   JTX-2159, https://www.youtube.com/watch?v=O-cHyAsHXKo.
23         10.    Attached as Exhibit I is a true and correct copy of a screen shot from JTX-
24   2160, https://www.youtube.com/watch?v=GfVDvBzVrCo.
25         11.    I personally took a photograph showing the software date from the Zeiss
26   ZX-1 camera, and a true and correct copy of that photograph is attached as Exhibit J.
27         12.    Attached as Exhibit K is a true and correct copy of a shipping invoice for
28
                                    1
             DECLARATION OF RICHARDS ISO OPPOSITION TO DEFENDANTS’
                                                                 MIL NO. 11
                                         Case No. 2:17-cv-07083-RGK (MRWx)
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 1   ZX1.
 2          13.   Attached as Exhibit L is a true and correct copy of an October 15, 2018
 3   FedEx delivery confirmation.
 4          14.   Attached as Exhibit M is a true and correct copy of correspondence
 5   October 15, 2018 from Plaintiffs’ counsel to Defendants’ counsel.
 6          15.   Attached as Exhibit N is a true and correct copy of a letter dated March
 7   29, 2018 from Nicole Williams to counsel for Nikon.
 8          I declare under the penalty of perjury of the laws of the United States of America
 9   that the foregoing is true and correct. Executed on October 26, 2018, in San Diego, CA.
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                                    By: /s/ Oliver J. Richards
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                                        Oliver J. Richards
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              DECLARATION OF RICHARDS ISO OPPOSITION TO DEFENDANTS’
                                                               MIL NO. 11
                                       Case No. 2:17-cv-07083-RGK (MRWx)
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                                #:20282


 1                              CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on October 26, 2018, to all counsel of record who
 4   are deemed to have consented to electronic service via the Court’s CM/ECF system per
 5   Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
 6   facsimile and/or overnight delivery.
 7

 8                                           /s/ Christopher S. Marchese
                                             Christopher S. Marchese
 9                                           marchese@fr.com
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             DECLARATION OF RICHARDS ISO OPPOSITION TO DEFENDANTS’
                                                              MIL NO. 11
                                      Case No. 2:17-cv-07083-RGK (MRWx)
